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                  Exhibit '
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND



STATE OF MARYLAND; ET AL.,

           Plaintiffs,

     v.                                        Case No.: 1:25-cv-

UNITED STATES DEPARTMENT OF
AGRICULTURE, ET AL.,

           Defendants.




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